               Case 2:19-bk-13667-ER                        Doc 1 Filed 04/01/19 Entered 04/01/19 12:33:56                                    Desc
                                                            Main Document     Page 1 of 53
 Fill in this information to identify your case;

 United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                        Chapter you are filing under:

                                                                              B Chapter 7
                                                                              □ Chapter 11
                                                                              □ Chapter 12
                                                                              □ Chapter 13                                   □ Check if this an
                                                                                                                               amended filing




Official Form 101
Voluntary Petition for Individuals Filina for Bankruotcv
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing aione. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car," the answer
would be yes if either debtor owns a car. When information is needed about the spouses separateiy, the form uses Debtor 1 and Debtor 2 to
distinguish between them, in joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be
Debtor 1 in all of the forms.


Be as complete and accurate as possible. If two married peopie are filing together, both are equaliy responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.



          Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name


     Write the name that is on     Rosendo
     your government-issued        First name                                                      First name
     picture identification (for
     exampie, your driver's        Segundo
     license or passport).         Middle name                                                     Middle name

     Bring your picture            gl
     identification to your        -j—^            ^   a-     —i—
                                                                                                   Last name and Suffix (Sr., Jr., II, III)
     meeting with the trustee,     Last name and Suffix (Sr., Jr.. II. Ill)


     All other names you have
     used in the last 8 years
     Include your married or
     maiden names.




     Only the last 4 digits of
     your Social Security
     number or federai             xxx-xx-2446
     Individuai Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for individuals Filing for Bankruptcy
               Case 2:19-bk-13667-ER                    Doc 1 Filed 04/01/19 Entered 04/01/19 12:33:56                                  Desc
Debtor 1    Rosendo Segundo Elvay                       Main Document     Page 2 of 53
                                                                                     Case number (if known)




                                 About Debtor 1:                                              About Debtor 2(Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers(EIN) you have          I have not used any business name or EINs.                □ I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                             Business name(s)
     doing business as names

                                 EINs                                                         EINs




5.   Where you live                                                                           If Debtor 2 lives at a different address:


                                 426 West 138th Street Apt B
                                 Hawthorne, OA 90250
                                 Number, Street, City, State & ZIP Code                       Number, Street, City, State & ZIP Code

                                 Los Angeles
                                 County                                                       County

                                 If your mailing address is different from the one            If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any    in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                      mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code             Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                   Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this             □      Over the last 180 days before filing this petition, I
                                        petition, I have lived in this district longer than          have lived in this district longer than in any other
                                        in any other district.                                       district.


                                        I have another reason.                                □      I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                             Explain. (See 28 U.S.C. § 1408.)




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 2
                  Case 2:19-bk-13667-ER                 Doc 1 Filed 04/01/19 Entered 04/01/19 12:33:56                                      Desc
Debtor 1    Rosendo Segundo Elvay                       Main Document     Page 3 of 53Case number (if known)


           Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one.(For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under   _
                                 ■ Chapter?
                                 □ Chapter 11
                                 □ Chapter 12
                                 □ Chapter 13


8.   How you will pay the fee           I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
                                        about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                        order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                        a pre-printed address.
                                        I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                        The Filing Fee in Installments (Official Form 103A).
                                        I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                        but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                        that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                        out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.



     Have you filed for          |
     bankruptcy within the
     last 8 years?               □ Yes.
                                             District                                  When                            Case number

                                             District                                  When                            Case number

                                             District                                  When                            Case number




10. Are any bankruptcy           ■ No
    cases pending or being
    filed by a spouse who is     □ Yes.
    not filing this case with
    you, or by a business
    partner, or by an
     affiliate?
                                             Debtor                                                                   Relationship to you
                                             District                                  When                           Case number, if known
                                             Debtor                                                                   Relationship to you
                                             District                                  When                           Case number, if known



11. Do you rent your             □ No.        Go to line 12.
     residence?
                                 ■ Yes.       Has your landlord obtained an eviction judgment against you?

                                              I         No. Go to line 12.
                                              □         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101 A) and file It with this
                                                        bankruptcy petition.




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 3
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Debtor 1    Rosendo Segundo Elvay
                                                      Main Document     Page 4 of 53Case number (if known)


           Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time       I No.     Go to Part 4.
    business?

                                  □ Yes.      Name and location of business
    A sole proprietorship is a
    business you operate as                   Name of business, if any
    an individual, and is not a
    separate legal entity such
    as a corporation,
    partnership, or LLC.
    If you have more than one                 Number, Street, City, State & ZIP Code
    sole proprietorship, use a
    separate sheet and attach
    it to this petition.                      Check the appropriate box to describe your business:
                                              □       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                              □       Single Asset Real Estate (as defined in 11 U.S.C. § 101(518))
                                              □       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                              □       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                              □       None of the above

13. Are you filing under          If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the       deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business    in 11 U.S.C. 1116(1 )(B).
    debtor?

                                     No.
                                              I am not filing under Chapter 11.
    For a definition of small
    business debtor, see 11
                                  □ No.       I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
    U.S.C. §101(510).
                                              Code.


                                  □ Yes.      I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


           Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention
14. Do you own or have any        ■ No.
    property that poses or is
    alleged to pose a threat      □ Yes.
    of imminent and                         What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                     If immediate attention is
    immediate attention?                    needed, why is it needed?

    For example, do you own
    perishable goods, or
    livestock that must be fed,             Where is the property?
    or a building that needs
    urgent repairs?
                                                                          Number, Street, City, State & Zip Code




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                page 4
               Case 2:19-bk-13667-ER                    Doc 1 Filed 04/01/19 Entered 04/01/19 12:33:56                                    Desc
Debtor 1     Rosendo Segundo Elvay
                                                        Main Document     Page 5 of 53Case number (if known)
            Explain Your Efforts to Receive a Briefing About Credit Counseiing
                                  About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Teii the court whether        You must check one:                                           You must check one:
    you have received a           I I received a briefing from an approved credit               □   I received a briefing from an approved credit
    briefing about credit           counseiing agency within the 180 days before i                  counseling agency within the 180 days before I filed
    counseiing.                       fiied this bankruptcy petition, and i received a              this bankruptcy petition, and I received a certificate of
                                      certificate of compietion.                                    completion.
    The law requires that you
    receive a briefing about          Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
    credit counseling before          plan, if any, that you developed with the agency.             any, that you developed with the agency.
    you file for bankruptcy.
    You must truthfully check     □   i received a briefing from an approved credit             □   I received a briefing from an approved credit
    one of the following              counseiing agency within the 180 days before i                counseling agency within the 180 days before I filed
    choices. If you cannot do         fiied this bankruptcy petition, but i do not have             this bankruptcy petition, but I do not have a
    so, you are not eligible to       a certificate of compietion.                                  certificate of completion.
    file.
                                      Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
    If you file anyway, the court     petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
    can dismiss your case, you        payment plan, if any.                                         any.
    will lose whatever filing fee
    you paid, and your            □   i certify that i asked for credit counseiing              □   I certify that I asked for credit counseling services
    creditors can begin               services from an approved agency, but was                     from an approved agency, but was unable to obtain
    collection activities again.      unabie to obtain those services during the 7                  those services during the 7 days after I made my
                                      days after i made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                      circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                      of the requirement.
                                                                                                    To ask for a 30-day temporary waiver of the requirement,
                                      To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                      requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                      what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                      you were unable to obtain it before you filed for             circumstances required you to file this case.
                                      bankruptcy, and what exigent circumstances
                                      required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                    with your reasons for not receiving a briefing before you
                                      Your case may be dismissed if the court is                    filed for bankruptcy.
                                      dissatisfied with your reasons for not receiving a
                                      briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                      If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                      still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                      You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                      agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                      developed, if any. If you do not do so, your case
                                                                                                    Any extension of the 30-day deadline is granted only for
                                      may be dismissed.
                                                                                                    cause and is limited to a maximum of 15 days.
                                      Any extension of the 30-day deadline is granted
                                      only for cause and is limited to a maximum of 15
                                      days.
                                  □   I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                      credit counseling because of:                                 counseling because of:

                                      □       Incapacity.                                           □      Incapacity.
                                              I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                              that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                              making rational decisions about finances.                    decisions about finances.


                                      □       Disability.                                           n      Disability.
                                              My physical disability causes me to be                       My physical disability causes me to be unable to
                                              unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                              by phone, or through the internet, even after                through the internet, even after I reasonably tried to
                                              I reasonably tried to do so.                                 do so.


                                      □       Active duty.                                          □      Active duty.
                                              I am currently on active military duty in a                  I am currently on active military duty in a military
                                              military combat zone.                                        combat zone.

                                      If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                      briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                      motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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Debtor 1     Rosendo Segundo Eivay
                                                       Main Document     Page 6 of 53Case number (if known)

           Answer These Questions for Reporting Purposes

16. What kind of debts do         16a.       Are your debts primariiy consumer debts? Consumer debts are defined in 11 U.S.C.§ 101(8)as "incurred by an
      you have?                              individual primarily for a personal, family, or household purpose."
                                             □ No. Go to line 16b.

                                             ■ Yes. Go to line 17.
                                  16b.       Are your debts primariiy business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.
                                             □ No. Go to line 16c.

                                             □ Yes. Go to line 17.
                                  16c.       State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under          □ fsio,    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

      Do you estimate that          I Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
      after any exempt                       expenses are paid that funds will be available to distribute to unsecured creditors?
      property is excluded and
      administrative expenses                ■ No
      are paid that funds will
      be available for                       □ Yes
      distribution to unsecured
      creditors?


18. How many Creditors do         ■ 1-49                                          □ 1,000-5.000                               □ 25,001-50,000
    you estimate that you                                                         □ 5001-10,000                               □ 50,001-100,000
      owe?
                                  □ 50-99
                                  □ 100-199                                       □ 10,001-25,000                             □ More thani 00,000
                                  □ 200-999

19. How much do you               ■   $0 - $50,000                                □   $1,000,001 - $10 million                □ $500,000,001 - $1 billion
    estimate your assets to                                                       □   $10,000,001 -$50 million                □ $1,000,000,001 - $10 billion
      be worth?
                                  □   $50,001 -$100,000
                                  □   $100,001 - $500,000                         □   $50,000,001 - $100 million              □ $10,000,000,001 - $50 billion
                                  □   $500,001 - $1 million                       □   $100,000,001 - $500 million             □ More than $50 billion

20.   How much do you             ■ $0 - $50,000                                  □   $1,000,001 -$10 million                 □   $500,000,001 - $1 billion
      estimate your liabiiities                                                   □   $10,000,001 -$50 million                □    $1,000,000,001 -$10 billion
      to be?
                                  □ $50,001 -$100,000
                                  □ $100,001 -$500,000                            □   $50,000,001 - $100 million              □    $10,000,000,001 -$50 billion
                                  □ $500,001 - $1 million                         □   $100,000,001 - $500 million             □    More than $50 billion


           Sign Beiow

For you                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                  If I have chosen to file under Chapter 7, 1 am aware that I may proceed, if eligible, under Chapter 7,11,12, or 13 of title 11,
                                  United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                  document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                  I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                  1 understand making a false statement, coiocealinc property, or obtaining money or property by fraud in connection with a
                                  bankruptcy case can result in fines up       ^,00C , or imorisonment for up to 20 years, or both. 18 U.S.C. §§ 152,1341,
                                  1519, and 3571.
                                  Isl Rosendo Segundo Elv»^S<jpK
                                  Rosendo Segundo Elvafx!^^
                                                                                        W           Signature of Debtor 2
                                  Signature of Debtor 1

                                  Executed on     March 29, 2019                                    Executed on
                                                  MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 6
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Debtor 1   Rosendo Segundo Elvay                          Main Document     Page 7 of 53
                                                                                       Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11,12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s)the notice required by 11 U.S.C.§
If you are not represented by   342(b)and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information
an attorney, you do not need    in the schedules filed with the petition is incorrect.
to file this page.
                                Isl Daniel King                                                    Date        March 29, 2019
                                Signature of Attorney for Debtor                                               MM / DD / YYYY


                                Daniel King
                                Printed name

                                The Attorney Group
                                Firm name

                                3435 Wilshire Blvd
                                Suite 1111
                                Los Angeles, OA 90010
                                Number, Street, City, State & ZIP Code

                                Contact phone     213-388-3887                               Email address       dking@theattorneygroup,com
                                207911 OA
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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                                             STATEMENT OF RELATED CASES
                                          INFORMATION REQUIRED BY LBR 1015-2
          UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
   against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
   copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
    corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
    and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
    assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
    included in Schedule A/B that was filed with any such prior proceeding(s).)
 None
2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
    Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
    debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
    debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows:(Set forth the
    complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
    and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any
    real property included in Schedule A/B that was filed with any such prior proceeding(s).)
 None
3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
   previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
   of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
   of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons,firms
   or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
   such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
   still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
     A/B that was filed with any such prior proceeding(s).)
 None

4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
   been filed by or against the debtor within the last 180 days:(Set forth the complete number and title of each such prior
   proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still pending,
   and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B that was
   filed with any such prior proceeding(s).)
 None

I declare, under penalty of perjury, that the foregoing is true and correct.

 Executed at Los Angeles                                          , California.                     Isl Rosendo Segun40clv§)i^
                                                                                                     Rosendo Segun(^d5Jv^^f^ 1
Date:           March 29,2019                                                                       Signature of Debtor 1                     \


                                                                                                     Signature of Debtor 2




                 This form is mandatory, it has been approved for use in the United States Bankruptcy Court for the Centrai District of Caiifornia.

October 2018                                                            Page 1               F 1015-2.1.STMT.RELATED.CASES
              Case 2:19-bk-13667-ER                         Doc 1 Filed 04/01/19 Entered 04/01/19 12:33:56                                 Desc
                                                            Main Document     Page 9 of 53
 Fill In this information to identify your case:

 Debtor 1                Rosendo Segundo Elvay
                         First Name                       Middle Name            Last Name

 Debtor 2
(Spouse if, filing)      First Name                       Middle Name            Last Name


 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

Case number
(If known)                                                                                                                     □ Check if this is an
                                                                                                                                    amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

              Summarize Your Assets


                                                                                                                                   Your assets
                                                                                                                                   Value of what you own

 1.    Schedule A/B: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/B..

        1b. Copy line 62, Total personal property, from Schedule A/B..

        1c. Copy line 63, Total of all property on Schedule A/B

              Summarize Your Liabilities


                                                                                                                                   Your liabilities
                                                                                                                                   Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed In Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...       $
 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F                              $
       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F                           $


                                                                                                        Your total liabilities $                37,104.09


               ' iiiiiiiiiiirize Your Income and Expenses

4.     Schedule I: Your Income (Official Form 106!)
       Copy your combined monthly income from line 12 of Schedule A.

 5.    Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J

              Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
       □      No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.


 7.    What kind of debt do you have?

        I     Your debts are primarily consumer debts. Consumer debts are those "incurred by an Individual primarily for a personal, family, or
              household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

        □     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
              the court with your other schedules.
 Official Form 106Sum                 Summary of Your Assets and Liabilities and Certain Statistical Information                          page 1 of 2
Software Copyright (c) 1996-2019 Best Case. LLC-www.bestcase.com                                                                          Best Case Bankruptcy
            Case 2:19-bk-13667-ER                           Doc 1 Filed 04/01/19 Entered 04/01/19 12:33:56                     Desc
 Debtor 1      Rosendo Segundo Elvay
                                                            Main Document    Page 10 of 53
                                                                                Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              3,000.83


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                     Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations(Copy line 6a.)                                                $                 0.00

       9b. Taxes and certain other debts you owe the government.(Copy line 6b.)                       $                 0.00

       9c. Claims for death or personal injury while you were intoxicated.(Copy line 6c.)             $                 0.00

       9d. Student loans.(Copy line 6f.)                                                              $                 0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims.(Copy line 6g.)                                                            $                 0.00


       9f. Debts to pension or profit-sharing plans, and other similar debts.(Copy line 6h.)         +$                 0.00



       9g. Total. Add lines 9a through 9f.                                                                           0.00




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information            page 2 of 2
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                Case 2:19-bk-13667-ER                         Doc 1 Filed 04/01/19 Entered 04/01/19 12:33:56                                       Desc
                                                              Main Document    Page 11 of 53
 Fill in \


 Debtor 1                   Rosendo Segundo Elvay
                            First Name                      Middle Name                    Last Name

 Debtor 2
(Spouse, if filing)         First Name                      Middle Name                    Last Name

 Unitetd States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

 Case number                                                                                                                                  □    Check if this is an
                                                                                                                                                   amended filing



Official Form 106A/B
Schedule A/B: Propert
In each category, separately list and describe items. List an asset only once, if an asset fits in more than one category, list the asset in the category where you think
it fits best. Be as complete and accurate as possible, if two married people are filing together, both are equally responsible for supplying correct information, if
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

              Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   B No. Go to Part 2.
   □ Yes. Where is the property?

              Describe Your Vehicles


Do you own, lease, or have legal or equitable Interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report It on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles




                                                                                                                    Do not deduct secured claims or exemptions. Put
             Make:      NiSSan                                 Who has an interest in the property? Check one
                                                                                                                    the amount of any secured claims on Schedule D:
             Model:     Aitlma                                 B Debtor 1 only                                      Creditors Who Have Claims Secured by Property.
             Year:      2014                                   D Debtor 2 only                                      Current value of the       Current value of the
             Approximate mileage:                              n Debtor 1 and Debtor 2 only                         entire property?           portion you own?
             Other information:                                n At least one of the debtors and another
          FMV per KBB
          Debtor will surrender                                D Check if this is community property                          $7,040.00                   $7,040.00
                                                                     (see instructions)



                                                                                                                    Do not deduct secured claims or exemptions. Put
             Make:      Nlssan                                 Who has an interest in the property? Check one
                                                                                                                    the amount of any secured claims on Scheduie D:
             Model:     Maxima                                 B Debtor 1 only                                      Creditors Who Have Ciaims Secured by Property.
             Year:      2008                                   D Debtor 2 only                                      Current value of the       Current value of the
          Approximate mileage:                   1             D Debtor 1 and Debtor 2 only                         entire property?           portion you own?
             Other information:                                D At least one of the debtors and another
          FMV per KBB
         Debtor owns free and ciear                            D Check if this is community property                          $4,431.00                   $4,431.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories



   □ Yes




Official Form 106A/B                                                        Schedule A/B: Property
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                                                                                                                                                      Best Case Bankruptcy
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 Debtor 1       Rosendo Segundo Elvay                        Main Document    Page 12 of Case
                                                                                         53 number (ifknown)

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
 .pages you have attached for Part 2. Write that number here                                                            =>                 $11,471.00


           Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                 Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   □ No
    M Yes. Describe

                                     Household Furniture and Electronics                                                                           $600.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    ■ No
    □ Yes. Describe

8. Coiiectibles of value
    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or basebali card collections;
                  other collections, memorabilia, collectibles
    ■ No
    □ Yes. Describe..

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                  musical instruments

    ■ No
    □ Yes. Describe

10. Firearms
      Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    ■ No
    □ Yes. Describe

11. Ciothes
     Examples: Everyday ciothes, furs, leather coats, designer wear, shoes, accessories
    n No
    H Yes. Describe

                                    All Clothes                                                                                                    $200.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirioom jewelry, watches, gems, gold, silver
    ■ No
    □ Yes. Describe..

13. Non-farm animals
      Examples: Dogs, cats, birds, horses
    ■ No
    □ Yes. Describe

14. Any other personal and household items you did not aiready list, inciuding any health aids you did not iist
    ■ No
    □ Yes. Give specific information




Official Form 106A/B                                                 Schedule A/B: Property                                                            page 2
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                                                                                          Case number (if known)

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here                                                                                                    $800.00


           Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                     Current value of the
                                                                                                                                 portion you own?
                                                                                                                                 Do not deduct secured
                                                                                                                                 claims or exemptions.

16. Cash
      Examples: Money you have in your wallet, In your home, in a safe deposit box, and on hand when you file your petition
    ■ No
    □ Yes

17. Deposits of money
      Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                    institutions. If you have multiple accounts with the same institution, list each.
    □ No
    B Yes                                                                   Institution name:


                                      17.1.     Checking                    Bank of America Checking Account #2610                                 $33.31


18. Bonds, mutual funds, or publicly traded stocks
      Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    ■ No
    □ Yes                                     Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
      and joint venture
    ■ No
    □ Yes. Give specific information about them
                                         Name of entity:                                                      % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    ■ No
    □ Yes. Give specific information about them
                                         Issuer name:


21. Retirement or pension accounts
      Examples: Interests in IRA, ERISA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    ■ No
    □ Yes. List each account separately.
                                      Type of account:                      Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
   □ No
    I Yq5                                                                   Institution name or individual:

                                      Rental deposit                        Security Deposit with Landlord                                     $2,000.00


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    ■ No
    □ Yes                       Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    ■ No
Official Form 106A/B                                                 Schedule A/B: Property                                                          page 3
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 Debtor 1       Rosendo Segundo Elvay                         Main Document    Page 14 of Case
                                                                                          53 number (if known)
    □ Yes                       Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c):

25. Trusts, equitable or future Interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    ■ No
    □ Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    ■ No
    □ Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    ■ No
    □ Yes. Give specific information about them...

 Money or property owed to you?                                                                                                       Current value of the
                                                                                                                                      portion you own?
                                                                                                                                      Do not deduct secured
                                                                                                                                      claims or exemptions.

28. Tax refunds owed to you
    ■ No
    □ Yes. Give specific information about them, including whether you already filed the returns and the tax years


29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    ■ No
    □ Yes. Give specific information


30. Other amounts someone owes you
      Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation. Social Security
                    benefits; unpaid loans you made to someone else
    ■ No
    □ Yes. Give specific information..

31. Interests in Insurance policies
      Examples: Health, disability, or life insurance; health savings account (MSA); credit, homeowner's, or renter's insurance
    ■ No
    □ Yes. Name the insurance company of each policy and list its value.
                                         Company name:                                          Beneficiary:                           Surrender or refund
                                                                                                                                       value:

32. Any interest in property that is due you from someone who has died
      If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
      someone has died.

    ■ No
    □ Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    ■ No
    □ Yes. Describe each claim

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    ■ No
    n Yes. Describe each claim

35. Any financial assets you did not already list
    ■ No
    □ Yes. Give specific information..


Official Form 106A/B                                                 Schedule A/B: Property                                                                page 4
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 Debtor 1        Rosendo Segundo Elvay
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                                                                                          53 number (if known)

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here                                                                                                $2,033.31


           Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   H No. Go to Part 6.
   □ Yes. Go to line 38.



           Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
    H No. Go to Part 7.
       D Yes. Go to line 47.


                Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
    □ No
    M Yes. Give specific information

                                         Cellphone                                                                                              $400.00



 54. Add the dollar value of all of your entries from Part 7. Write that number here                                                       $400.00


               List the Totals of Each Part of this Form


 55.   Part 1: Total real estate, line 2                                                                                                          $0.00
 56.   Part 2: Total vehicles, line 5                                                  $11,471.00
 57. Part 3: Total personal and household items, line 15                                   $800.00
 58.   Part 4: Total financial assets, line 36                                          $2,033.31
 59.   Part 5: Total business-related property, line 45                                       $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                $0.00
 61.   Part 7: Total other property not listed, line 54                                    $400.00

 62. Total personal property. Add lines 56 through 61...                               $14,704.31       Copy personal property total       $14,704.31

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                       $14,704.31




Official Form 106A/B                                                 Schedule A/B: Property                                                        page 5
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 Debtor 1                 Rosendo Segundo Elvay
                          First Name                        Middle Name                   Last Name

 Debtor 2
(Spouse if, filing)       First Name                        Middle Name                   Last Name

 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number
(If known)                                                                                                                            □ Check If this is an
                                                                                                                                           amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule MB: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space Is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name
and case number (If known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

               liii iiliiy the Property You Claim as Exempt
 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      B You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      □ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule MB that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule MB that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     2008 Nissan Maxima 130K miles                                    $4,431.00                                  $4,431.00     C.C.P.§ 703.140(b)(2)
      FMV per KBB
      Debtor owns free and clear                                                            100% of fair market value, up to
      Line from Schedule MB: 3.2                                                            any applicable statutory limit


      Household Furniture and Electronics                                                                          $600.00     C.C.P.§ 703.140(b)(3)
                                                                          $600.00
      Line from Schedule MB: 6.1
                                                                                            100% of fair market value, up to
                                                                                            any applicable statutory limit

     All Clothes                                                                                                   $200.00     C.C.P.§ 703.140(b)(3)
                                                                          $200.00
     Line from Schedule MB: 11.1
                                                                                      O 100% of fair market value, up to
                                                                                            any applicable statutory limit

     Checking: Bank of America Checking                                    $33.31                                    $33.31    C.C.P.§ 703.140(b)(5)
     Account#2610
     Line from Schedule MB: 17.1                                                            100% of fair market value, up to
                                                                                            any applicable statutory limit


     Rentai deposit: Security Deposit with                            $2,000.00                                  $2,000.00     C.C.P.§ 703.140(b)(5)
      Landlord
     Line from Schedule MB: 22.1                                                      n     100% of fair market value, up to
                                                                                            any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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            Case 2:19-bk-13667-ER                           Doc 1 Filed 04/01/19 Entered 04/01/19 12:33:56                                     Desc
Debtor 1     Rosendo Segundo Elvay
                                                            Main Document    Page 17Case
                                                                                     of number
                                                                                         53 (if known)
     Brief description of the property and line on           Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                   portion you own
                                                             Copy the value from    Check only one box for each exemption.
                                                             Schedule A/B

     Cellphone                                                         $400.00                                   $400.00     C.C.P.§ 703.140(b)(3)
     Line from Schedule A/B: 53.1
                                                                                    n 100% of fair market value, up to
                                                                                         any appllcable statutory limit


3. Are you claiming a homestead exemption of more than $160,375?
   (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
     ■     No

     □     Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           □       No
           □       Yes




Official Form 106C                                    Schedule 0: The Property You Claim as Exempt                                                      page 2 of 2
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              Case 2:19-bk-13667-ER                           Doc 1 Filed 04/01/19 Entered 04/01/19 12:33:56                                                Desc
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 Debtor 1                  Rosendo Segundo Elvay
                           First Name                        Middle Name                      Last Name

 Debtor 2
(Spouse if, filing)        First Name                        Middie Name                      Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                                      □ Check if this is an
                                                                                                                                                      amended fiiing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                               12/15
Be as complete and accurate as possible. If two married peopie are fiiing together, both are equally responsible for supplying correct information, if more space is
needed, copy the Additionai Page, fiii it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?

      □ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      B Yes. Fiil in ali of the information below.
               List All Secured Claims

 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately for
 each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much     Amount of ciaim        Value of coiiaterai     Unsecured
 as possible, list the claims in alphabetical order according to the creditor's name.                          Do not deduct the      that supports this      portion
                                                                                                               value ot collateral.   ciaim                   If any
      I Nissan Motor                               Describe the property that secures the claim:                   $13,040.00                 $7,040.00           $6,000.00
        Creditor's Name
                                                   2014 Nissan Altlma 120K miles
                                                   FMV per KBB
                                                   Debtor will surrender
                                                  As of the date you file, the claim is: Check ail that
        Pob 660366                                 apply.
        Dallas, TX 75266                           n Contingent
        Number, Street, City, State 8 Zip Code     n Unliquidated
                                                   n Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 B Debtor 1 only                                   n An agreement you made (such as mortgage or secured
                                                        car loan)
 D Debtor 2 only
 n Debtor 1 and Debtor 2 only                      n Statutory lien (such as tax lien, mechanic's lien)
 n At least one of the debtors and another         n Judgment lien from a lawsuit
 □ Check if this claim relates to a                □ Other (including a right to offset)
     community debt

                                Opened
 Date debt was Incurred         3/05/14                     Last 4 digits of account number       0001


   Add the dollar value of your entries in Column A on this page. Write that number here:                                   $13,040.00
   if this is the last page of your form, add the doiiar value totals from ail pages.
   Write that number here:
                                                                                                                            $13,040.00

              List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is trying
 to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more than one
 creditor for any of the debts that you listed in Part 1, list the additionai creditors here, if you do not have additionai persons to be notified for any debts in Part 1,
 do not fiii out or submit this page.




Official Form 106D                               Schedule D; Creditors Who Have Claims Secured by Property                                                             page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
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                                                            Main Document    Page 19 of 53

 Debtor 1                Rosendo Segundo Elvay
                         First Name                        Middle Name                         Last Name

 Debtor 2
(Spouse if. filing)      First Name                        Middle Name                         Last Name


 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                                       □ Check If this Is an
                                                                                                                                                       amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIGRITY claims. List the other party to
any executory contracts or unexplred leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexplred Leases (Official Form 106G). Do not include any creditors with partialiy secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page, if you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and case
number (if known).

               I I I hll of Your PRIORITY Unsecured Claims
 1.   Do any creditors have priority unsecured claims against you?

      B No. Go to Part 2.
      D Yes.
         M*' '          of Your NONPRIORITY Unsecured Claims
 3.   Do any creditors have nonpriority unsecured claims against you?

      D No. You have nothing to report in this part. Submit this form to the court with your other schedules.


 4.   List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority unsecured
      claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more than one
      creditor holds a particular claim, list the other creditors in Part S.lf you have more than three nonpriority unsecured claims fill out the Continuation Page of Part 2.
                                                                                                                                                          Total claim

           Antonio Luna                                             Last 4 digits of account number                                                                   Unknown
            Nonpriority Creditor's Name
            do Dennnis P Block & Associates                        When was the debt Incurred?

            5437 Laurel Canyon Blvd. 2nd Floor
           Valley Village, OA 91607
            Number Street City State Zip Code                      As of the date you file, the claim Is: Check ali that apply
           Who Incurred the debt? Check one.
                                                                    n Contingent
            B Debtor 1 only
                                                                    n Unliquidated
            D Debtor 2 only
                                                                    □ Disputed
            D Debtor 1 and Debtor 2 only                           Type of NONPRIORITY unsecured claim:
            n At least one of the debtors and another               n student loans
            D Check If this claim Is for a community debt           n Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                         report as priority claims
                                                                    n Debts to pension or profit-sharing plans, and other similar debts
                                                                    B Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                Page 1 of 8
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 Debtor 1 Rosendo Segundo Eivay                               Main Document    PageCase
                                                                                    20 number
                                                                                        of 53 (if known)

4.2       AT&T                                                       Last 4 digits of account number                                                           $923.33
          Nonprlority Creditor's Name
          P.O. Box 5025                                              When was the debt incurred?

          Carol Stream, IL 60197-5025
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                     □ Contingent
           H Debtor 1 only
                                                                     D Unliquidated
          D Debtor 2 only
                                                                     D Disputed
          D Debtor 1 and Debtor 2 only                               Type of NONPRIORITY unsecured claim:
           n At least one of the debtors and another                 D Student ioans
          D Check if this claim is for a community debt              n Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           ■ No                                                      □ Debts to pension or profit-sharing plans, and other similar debts
           □ Yes                                                     H Other. Specify

 4.3       Chase Card                                                Last 4 digits of account number        1815                                            $3,581.00
           Nonpriority Creditor's Name
                                                                                                            Opened 8/04/11 Last Active
           P.O. Box 15298                                            When was the debt incurred?            1/21/15
          Wilmington, DE 19850
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                     D Contingent
           H Debtor 1 only
                                                                     n Unliquidated
           □ Debtor 2 only
                                                                     D Disputed
           □ Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           D At least one of the debtors and another                 D Student loans
           D Check if this claim is for a community debt             n Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           ■ No                                                      D Debts to pension or profit-sharing plans, and other similar debts
           n Yes                                                     B other. Specify Credit Card

 4.4       Dsnb Macys                                                Last 4 digits of account number        3051                                            $1,719.00
           Nonpriority Creditor's Name
                                                                                                           Opened 12/18/11 Last Active
           Po Box 8218                                               When was the debt incurred?           7/11/14
           Mason, OH 45040
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                     □ Contingent
           B Debtor 1 only
                                                                     G Unliquidated
           D Debtor 2 only
                                                                     □ Disputed
           □ Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           D At least one of the debtors and another                 □ Student loans
           D Check if this claim is for a community debt             □ Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           ■ No                                                      □ Debts to pension or profit-sharing plans, and other similar debts
           □ Yes                                                     ■ other. Specify Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 8
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 4.5       MCM                                                       Last 4 digits of account number                                                           $601.76
           Nonprlority Creditor's Name
           Dept12421                                                 When was the debt incurred?

           P.O. Box 603
           Oaks, PA 19456
           Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
           Who incurred the debt? Check one.
                                                                     D Contingent
           H Debtor 1 only
                                                                     D Unliquidated
           □ Debtor 2 only
                                                                     D Disputed
           D Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           D At least one of the debtors and another                 □ Student loans
           D Check If this claim Is for a community debt             n Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           ■ No                                                      n Debts to pension or profit-sharing plans, and other similar debts
           □ Yes                                                     H Other. Specify

 4.6       Midland Fund                                              Last 4 digits of account number       9264                                             $1,278.00
           Nonprlority Creditor's Name
           2365 Northslde Drive                                      When was the debt incurred?            Opened 10/27/16
           San Diego, CA 92108
           Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
           Who Incurred the debt? Check one.
                                                                     □ Contingent
           H Debtor 1 only
                                                                     D Unliquidated
           □ Debtor 2 only
                                                                     D Disputed
           □ Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           □ At least one of the debtors and another                 D Student loans
           □ Check If this claim Is for a community debt             n Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           ■ No                                                      n Debts to pension or profit-sharing plans, and other similar debts
           D Yes                                                     ■ Other. Specify 01 Citibank N A

El]        Midiand Fund
           Nonprlority Creditor's Name
                                                                     Last 4 digits of account number        4543                                               $817.00

           2365 Northside Drive                                      When was the debt Incurred?            Opened 7/23/15
           San Diego, CA 92108
           Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
           Who Incurred the debt? Check one.
                                                                     D Contingent
           M Debtor 1 only
                                                                     D Unliquidated
           D Debtor 2 only
                                                                     D Disputed
           D Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           D At least one of the debtors and another                 D Student loans
           D Check If this claim Is for a community debt             D Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           ■ No                                                      n Debts to pension or profit-sharing plans, and other similar debts
           D Yes                                                     ■ Other. Specify 01 Credit One Bank N A




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                                                                                       number (if known)

4.8       Midland Fund                                               Last 4 digits of account number       4501                                               $602.00
          Nonpriority Creditor's Name
          2365 Northside Drive                                       When was the debt incurred?            Opened 10/14/15
          San Diego, CA 92108
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                     D Contingent
           H Debtor 1 only
                                                                     D Unliquidated
           □ Debtor 2 only
                                                                     D Disputed
           □ Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           □ At least one of the debtors and another                 D Student loans
           n Check if this claim is for a community debt             D Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           ■ No                                                      D Debts to pension or profit-sharing plans, and other similar debts
           □ Yes                                                     H Other. Specify 01 Cltlbdnk N A

 4.9      Midland Fund                                               Last 4 digits of account number       2442                                                $333.00
          Nonpriority Creditor's Name
          2365 Northside Drive                                       When was the debt incurred?           Opened 10/28/15
           San Diego, CA 92108
           Number Street City State Zip Code                         As of the date you file, the ciaim is: Check all that apply
          Who incurred the debt? Check one.
                                                                     D Contingent
           M Debtor 1 only
                                                                     D Unliquidated
           D Debtor 2 only
                                                                     D Disputed
           □ Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured ciaim:
           D At least one of the debtors and another                 □ Student loans
           D Check if this ciaim is for a community debt             D Obligations arising out of a separation agreement or divorce that you did not
           Is the ciaim subject to offset?                           report as priority claims

           ■ No                                                      D Debts to pension or profit-sharing plans, and other similar debts
           □ Yes                                                     ■ Other. Specify 01 Synchrony Bank

 4.10      Midland Fund                                              Last 4 digits of account number        5299                                               $319.00
           Nonpriority Creditor's Name
          2365 Northside Drive                                       When was the debt incurred?           Opened 4/27/17
          San Diego, CA 92108
           Number Street City State Zip Code                         As of the date you fiie, the ciaim is: Check all that apply
          Who incurred the debt? Check one.
                                                                     □ Contingent
           H Debtor 1 only
                                                                     □ Unliquidated
           D Debtor 2 only
                                                                     G Disputed
           □ Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           D At least one of the debtors and another                 □ Student loans
           D Check if this claim is for a community debt             □ Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           ■ No                                                      □ Debts to pension or profit-sharing plans, and other similar debts
           □ Yes                                                     ■ Other. Specify 01 Synchrony Bank




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4.11      Oportunprog                                                Last 4 digits of account number       1311                                             $2,605.00
          Nonpriority Creditor's Name
                                                                                                           Opened 12/10/15 Last Active
          1600 Seaport Blvd                                          When was the debt incurred?           9/16/16
          Redwood City, OA 94063
          Number Street City State Zip Code                          As of the date you file, the claim is; Check all that apply
          Who incurred the debt? Check one.
                                                                     □ Contingent
           H Debtor 1 only
                                                                     n Unliquidated
           □ Debtor 2 only
                                                                     n Disputed
           □ Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           □ At least one of the debtors and another                 D Student loans
           D Check if this claim is for a community debt             □ Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           ■ No                                                      □ Debts to pension or profit-sharing plans, and other similar debts
           □ Yes                                                     ■ other. Specify Unsecured

 4.12      Portfolio Rc                                              Last 4 digits of account number        7261                                               $694.00
           Nonpriority Creditor's Name
           120 Corporate Blvd Ste 100                                When was the debt incurred?            Opened 2/22/16
           Norfolk, VA 23502
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                     D Contingent
           H Debtor 1 only
                                                                     n Unliquidated
           □ Debtor 2 only
                                                                     n Disputed
           D Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           □ At least one of the debtors and another                 G student loans
           D Check if this claim is for a community debt             G Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           ■ No                                                      G Debts to pension or profit-sharing plans, and other similar debts
           G Yes                                                     H Other. Specify 0® Citlbsnk N A

 4.13      Portfolio Rc                                              Last 4 digits of account number        5857                                               $634.00
           Nonpriority Creditor's Name
           120 Corporate Blvd Ste 100                                When was the debt incurred?            Opened 1/29/16
           Norfolk, VA 23502
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                     G Contingent
           H Debtor 1 only
                                                                     G Unliquidated
           G Debtor 2 only
                                                                     G Disputed
           G Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           G At least one of the debtors and another                 G student loans
           G Check if this claim is for a community debt             G Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           ■ No                                                      G Debts to pension or profit-sharing plans, and other similar debts
           □ Yes                                                     ■ Other. Specify 08 Comenlty Bank




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4.14      Portfolio Rc                                             Last 4 digits of account number       0370                                               $497.00
          Nonprlority Creditor's Name
          120 Corporate Blvd Ste 100                               When was the debt incurred?            Opened 6/30/16
          Norfolk, VA 23502
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                   □ Contingent
          H Debtor 1 only
                                                                   D Unliquidated
          D Debtor 2 only
                                                                   D Disputed
          □ Debtor 1 and Debtor 2 only                             Type of NGN PRIORITY unsecured claim:
          D At least one of the debtors and another                D student loans
          D Check if this claim is for a community debt            D Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

        ' ■ No                                                     D Debts to pension or profit-sharing plans, and other similar debts
          □ Yes                                                    ■ Other. Specify 08 Comenlty Bank

4.15      Portfolio Rc                                             Last 4 digits of account number       0243                                               $481.00
          Nonpriority Creditor's Name
          120 Corporate Blvd Ste 100                               When was the debt incurred?           Opened 3/30/17
          Norfolk, VA 23502
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                   □ Contingent
          H Debtor 1 only
                                                                   n Unliquidated
          □ Debtor 2 only
                                                                   □ Disputed
          D Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
          □ At least one of the debtors and another                □ Student loans
          D Check if this claim is for a community debt            D Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

          ■ No                                                     n Debts to pension or profit-sharing plans, and other similar debts
          □ Yes                                                    H Other. Specify 88 Cltlbenk N A

4.16      Santander                                                Last 4 digits of account number        1000                                            $8,578.00
          Nonpriority Creditor's Name
                                                                                                          Opened 2/08/14 Last Active
          Po Box 961245                                            When was the debt incurred?            5/31/18
          Fort Worth, TX 76161
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                   D Contingent
          H Debtor 1 only
                                                                   D Unliquidated
          n Debtor 2 only
                                                                   D Disputed
          n Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
          □ At least one of the debtors and another                □ Student loans
          □ Check if this claim is for a community debt            D Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

          ■ No                                                     D Debts to pension or profit-sharing plans, and other similar debts
          □ Yes                                                    B Other. Specify Automoblle




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 6 of 8
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                                                                                        number

 4.17      Syncb/ameagl                                              Last 4 digits of account number          0424                                                         $401.00
           Nonprlorlty Creditor's Name
                                                                                                              Opened 12/24/13 Last Active
           Po Box 965005                                             When was the debt incurred?              7/16/14
           Orlando, FL 32896
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                     n Contingent
           H Debtor 1 only
                                                                     D Unliquidated
           D Debtor 2 only
                                                                     D Disputed
           D Debtor 1 and Debtor 2 only                              Type of NONPRiORITY unsecured claim:
           n At least one of the debtors and another                 □ Student loans
           D Check if this ciaim is for a community debt             D Obligations arising out of a separation agreement or divorce that you did not
           Is the ciaim subject to offset?                           report as priority claims

           ■ No                                                      n Debts to pension or profit-sharing plans, and other similar debts
           n Yes                                                     ■ Other. Specify Charge Account

             I List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For exampie, if a collection agency is
   trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similariy, if you have
   more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be notified for
   any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Credence Resource Management                                  Line 4.2 of {Check one):                  □ Part 1: Creditors with Priority Unsecured Claims
 LLC
                                                                                                            I Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 1519
 Southgate, Ml 48195
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 MCM                                                           Line 4.7 of {Check one):                  □ Part 1: Creditors with Priority Unsecured Claims
 Dept12421                                                                                                 I Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 603
 Oaks, PA 19456
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 MCM                                                           Line 4.17 of {Check one):                 □ Part 1: Creditors with Priority Unsecured Claims
 Dept12421                                                                                                 I Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 603
 Oaks, PA 19456
                                                               Last 4 digits of account number


            I Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This Information Is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each type
   of unsecured claim.

                                                                                                                                   Total Claim
                        6a.   Domestic support obligations                                                    6a.                                   0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                            6b.                                   0.00
                        6c.   Claims for death or personal Injury while you were Intoxicated                  6c.                                   0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.         6d.                                   0.00


                        6e.   Total Priority. Add lines 6a through 6d.                                        6e.                                   0.00


                                                                                                                                   Total Claim
                        6f.   Student loans                                                                   6f.                                   0.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that you
                              did not report as priority claims                                               69-                                   0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts               6h.                                   0.00
                        61.   Other. Add all other nonpriority unsecured claims. Write that amount here.      6i.                           24,064.09



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                        6j.   Total Nonpriority. Add lines 6f through 61.                         6j.      24,064,09




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 Fill In this information to identify your case:

 Debtor 1                Rosendo Segundo Elvay
                         First Name                         Middle Name         Last Name

 Debtor 2
(Spouse if. filing)      First Name                         Middle Name         Last Name


 United States Bankruptcy Court for ttie:            CENTRAL DISTRICT OF CALIFORNiA

 Case number
 (if known)                                                                                                                   □ Check if this is an
                                                                                                                                  amended filing



Official Form 106G
Schedule G: Executorv Contracts and Unexoired Leases                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.    Do you have any executory contracts or unexpired leases?
      B No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      □ Yes. Fill in ail of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.    List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
      example, rent, vehicle lease, ceil phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
      and unexpired leases.


       Person or company with whom you have the contract or lease                 State what the contract or lease is for
                         Name. Number. Street. City. State and ZIP Code




          Number       Street




          Number       Street




          Number       Street




         Number        Street




         Number        Street




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 1
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 Debtor 1                 Rosendo Segundo Elvay
                          First Name                           Middle Name       Last Name

 Debtor 2
(Spouse if, fiiing)       First Name                           Middle Name       Last Name

 United States Bankruptcy Court for the:               CENTRAL DISTRICT OF CALIFORNIA

 Case number
(if known)                                                                                                                □ Check If this Is an
                                                                                                                             amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are fi ling a joint case, do not list either spouse as a codebtor.

      ■ No
      □ Yes

      2. Within the last 8 years, have you lived in a community property state or territory? {Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      B No. Go to line 3.
      □ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to
      fill out Column 2.


               Coiumn 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
              Name, Number, Street, City, State and ZIP Code                                       Check all schedules that apply:

                                                                                                   □ Schedule D, line
                                                                                                   □ Schedule E/F, line
                                                                                                   □ Schedule G, line




                                                                                                   □ Schedule D, line
                                                                                                   □ Schedule E/F, line
                                                                                                   □ Schedule G, line _




Official Form 106H                                                           Schedule H; Your Codebtors                                   Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Rosendo Segundo Elvay

 Debtor 2
(Spouse, if filing)

 United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

 Case number                                                                                             Check If this Is:
(If known)
                                                                                                         □ An amended filing
                                                                                                         □ A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

 Official Form 1061                                                                                          MM / DD/ YYYY

 Schedule I: Your Income                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

                  I Describe Employment
 1.    Fill in your employment
       information.                                                 Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                               H Employed                                  □ Employed
       attach a separate page with           Employment status"*"
                                                                    □ Not employed                              □ Not employed
       Information about additional
       employers.
                                             Occupation             Driver
       Include part-time, seasonal, or
       self-employed work.                   Employer's name        Happy Rodeo

                                             Employer's address
                                                                    1721 Sunset Blvd
       or homemaker. If it applies.
                                                                    Los Angeles, OA 90026

                                             How long employed there?          2 years
                                                                               *See Attachment for Additional Employment Information

                  I Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 In the space. Include your non-flling
spouse unless you are separated.

If you or your non-flling spouse have more than one employer, combine the Information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2-     deductions). If not paid monthly, calculate what the monthly wage would be.         2.      $        2,021.93         $             N/A

3.     Estimate and list monthly overtime pay.                                             3.     +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                        4.      $      2,021.93                $      N/A




Official Form 1061                                                      Schedule 1: Your Income                                                    page 1
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 Debtor 1   Rosendo Segundo Elvay                                                               Case number {if known)



                                                                                                 For Debtor 1            For Debtor 2 or
                                                                                                                         non-filing spouse
      Copy line 4 here                                                                    4.     $        2,021.93       $                N/A

      List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                5a.  $             340.17   $                   N/A
      5b.    Mandatory contributions for retirement plans                                 5b.  $                0.00  $                   N/A
      5c.    Voluntary contributions for retirement plans                                 5c.  $               0.00   $                   N/A
      5d.    Required repayments of retirement fund loans                                 5d. $                0.00   $                   N/A
      5e.    Insurance                                                                    5e. $              108.42   $                   N/A
      5f.    Domestic support obligations                                                 5f.  $               0.00   $                   N/A
      5g.    Union dues                                                                   5g. $                0.00   $                   N/A
      5h.    Other deductions. Specify:                                                   5h.+ $               0.00 + $                   N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                      6.    $           448.59       $                N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                 7.    $         1,573.34       $                N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                          8a.   $               0.00     $                N/A
      8b.    Interest and dividends                                                       8b.   $               0.00     $                N/A
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                       8c.     $               0.00     $                N/A
      8d.    Unemployment compensation                                                  8d.     $               0.00     $                N/A
      8e.    Social Security                                                            8e.     $               0.00     $                N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known)of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program)or housing subsidies.
             Specify:                                                                   8f.    $                0.00     $              N/A
      8g.    Pension or retirement income                                               8g.    $                0.00 $                  N/A
      8h.    Other monthly income. Specify: Little Rodeo Restaurant(978.9)                8h.+ $            863.89 + $                  N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                            9.                863.89                         N/A


10. Calculate monthly Income. Add line 7 + line 9.                                     10.           2,437.23                  N/A     $         2,437.23
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
      other friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
      Specify:                                                                                                                 11. +$               0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
      applies                                                                                                                  ''2.              2,437.23

                                                                                                                                      Combined
                                                                                                                                      monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      ■         No.
      □         Yes. Explain: I




Official Form 1061                                                    Schedule 1: Your Income                                                     page 2
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 Debtor 1   Rosendo Segundo Elvay                                              Case number {if known)




                                                Official Form B 6i
                                 Attachment for Additional Employment information

 Debtor
 Occupation           Driver
 Name of Employer     Little Rodeo Restaurant
 How long employed    4 months
Address of Employer   1304 Lemoyne St.
                      Los Angeles, CA 90026




Official Form 1061                                   Schedule I: Your Income
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 Fill in this information to identify your case:

 Debtor 1              Rosendo Segundo Elvay                                                                 Check if this is:
                                                                                                             □      An amended filing
 Debtor 2                                                                                                    □      A supplement showing postpetition chapter
(Spouse, if filing)                                                                                                 13 expenses as of the following date:

 United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA                                           MM / DD / YYYY

 Case number
(If known)




 Official Form 106J
 Schedule J: Your Expenses                                                                                                                                 12/15
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 Information. If more space Is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
 number (If known). Answer every question.

              Describe Your Household
      Is this a joint case?
       B No. Go to line 2.
       □ Yes. Does Debtor 2 live In a separate household?
                □ No
                □ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 2.   Do you have dependents?              ■ No
      Do not list Debtor 1                 □ Yes.   Fill out this information for   Dependent's relationship to        Dependent's       Does dependent
      and Debtor 2.                                 each dependent                  Debtor 1 or Debtor 2               age               live with you?

      Do not state the                                                                                                                   n No
      dependents names.                                                                                                                  □ Yes
                                                                                                                                         □ No
                                                                                                                                         □   Yes
                                                                                                                                         □   No
                                                                                                                                         □   Yes
                                                                                                                                         □   No
                                                                                                                                         □   Yes
3.    Do your expenses Include                    ■ No
      expenses of people other than
      yourself and your dependents?               □ Yes

             I Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement In a Chapter 13 case to report
expenses as of a date after the bankruptcy Is filed. If this Is a supplemental Schedule J, check the box at the top of the form and fill In the
applicable date.

Include expenses paid for with non-cash government assistance If you know
the value of such assistance and have Included It on Schedule I: Your Income
(Official Form 1061.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                           4. $                            1,000.00

      If not Included In line 4:

      4a.     Real estate taxes                                                                             4a.                                    0.00
      4b.     Property, homeowner's, or renter's insurance                                                  4b.                                    0.00
      4c.     Home maintenance, repair, and upkeep expenses                                                 4c.                                    0.00
      4d.     Homeowner's association or condominium dues                                                   4d.                                    0.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.                                    0.00




Official Form 106J                                                    Schedule J: Your Expenses                                                           page 1
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Debtor 1     Rosendo Segundo Elvay                                                                      Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                      6a. $                                   75.00
      6b. Water, sewer, garbage collection                                                                    6b. $                                   95.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                      6c.    $                               155.00
      6d. Other. Specify:                                                                                     6d. $                                    0.00
7.    Food and housekeeping supplies                                                                            7.   $                               300.00
8.    Childcare and children's education costs                                                                  8. $                                    0.00
9.  Clothing, laundry, and dry cleaning                                                                         9. $                                 100.00
10. Personal care products and services                                                                       10. $                                  100.00
11. Medical and dental expenses                                                                               11. $                                  150.00
12. Transportation. Include gas, maintenance, bus or train fare.
    Do not include car payments.                                                                              12.    $                              240.00
13. Entertainment, clubs, recreation, newspapers, magazines, and books                                        13. $                                  100.00
14. Charitable contributions and religious donations                                                          14.    $                                 0.00
15. Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a.   Life insurance                                                                                  15a. $                                     0.00
      15b.   Health insurance                                                                                15b. $                                     0.00
      15c.   Vehicle insurance                                                                               15c. $                                  160.00
      15d. Other insurance. Specify:                                                       15d. $                                                      0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                              16. $                                                       0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                       0.00
      17b. Car payments for Vehicle 2                                                      17b, $                                                       0.00
      17c. Other. Specify:                                                                 17c. $                                                       0.00
      17d. Other. Specify:                                                                 17d. $                                                       0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule /, Your Income (Official Form 1061).       18. $                                                       0.00
19.   Other payments you make to support others who do not live with you.                        $                                                      0.00
      Specify:                                                                              19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule 1: Your Income.
      20a. Mortgages on other property                                                                       20a. $                                     0.00
      20b. Real estate taxes                                                                                 20b. $                                     0.00
      20c. Property, homeowner's, or renter's insurance                                                      20c. $                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                                          20d. $                                     0.00
      20e. Homeowner's association or condominium dues                                                       20e. $                                     0.00
21.   Other: Specify:                                                                                         21. +$                                    0.00

22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                         $                     2,475.00
    22b. Copy line 22(monthly expenses for Debtor 2), if any, from Official Form 106J-2                                  $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                    $                     2,475.00
23.   Calculate your monthly net income.
      23a. Copy line 12(your combined monthly Income)from Schedule I.                                        23a. $                               2,437.23
      23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              2.475.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                            23c.                                    -37.77


24.   Do you expect an increase or decrease In your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
      ■ No.
      □ Yes.             I Explain here:




Official Form 106J                                                   Schedule J; Your Expenses                                                                    page 2
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 Debtor 1                Rosendo Segundo Elvay
                          First Name                       Middle Name                 Last Name

 Debtor 2
(Spouse if. filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:             CENTRAL DISTRICT OF CALIFORNIA

 Case number
(if known)                                                                                                                           □ Check if this Is an
                                                                                                                                         amended filing



Official Form 106Dec

Declaration About an individual Debtor's Schedules                                                                                                           12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152,1341,1519, and 3571.



                  Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?




       □      Yes. Name of person                                                                                  Attach Bankruptcy Petition Preparer's Notice,
                                                                                                                   Deciaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I h^                 Sa^he summary and schedules filed with this declaration and
      that they are true and correct.

       X Isl Rosendo Segundo
             Rosendo Segurido                              T|                              Signature of Debtor 2
             Signature of Debtor 1                    / \ iL
             Date March 29, 2019                      ly




Official Form 106Dec                                      Declaration About an Individual Debtor's Schedules

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 Debtor 1                 Rosendo Segundo Elvay
                          First Name                        Middle Name                   Last Name

 Debtor 2
(Spouse if, filing)       First Name                        Middie Name                   Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (If known)                                                                                                                                □ Check if this Is an
                                                                                                                                              amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                 ^
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

               Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

      •       Married
      □       Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

      □       No
              Yes. List all of the places you lived in the last 3 years. Do not Include where you live now.

       Debtor 1 Prior Address:                                   Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                      lived there

       1137 WMcArthur Av.                                        From-To:                    Q Same as Debtor 1                                   D Same as Debtor 1
       San Pedro, CA 90732                                       2006-2/2017                                                                      From-To:




3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? {Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

      ■       No
      □       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

               Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fili in the total amount of Income you received from ail jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have Income that you receive together, list it only once under Debtor 1.

      □       No
              Yes. Fill In the details.


                                                   Debtor 1                                                        Debtor 2

                                                   Sources of income                Gross income                   Sources of income              Gross income
                                                   Check all that apply.            (before deductions and         Check ail that apply.          (before deductions
                                                                                    exclusions)                                                   and exclusions)
 From January 1 of current year until ■ ^                        commissions,                     $7,967.00        □ Wages, commissions,
 the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips

                                                   □ Operating a business                                          □ Operating a business

Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy
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                                                    Debtor 1                                                        Debtor 2

                                                    Sources of income                Gross income                   Sources of income           Gross income
                                                    Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                     exclusions)                                                and exclusions)

For last calendar year:                             ■ Wages, commissions,                        $32,918.00          □ Wages, commissions,
(January 1 to December 31, 2018)                                                                                    bonuses, tips
                                                    bonuses, tips

                                                    n Operating a business                                           □ Operating a business

 For the calendar year before that:                 ■ Wages, commissions,                         $11,765.00        □ Wages, commissions,
 (January 1 to December 31, 2017 )                                                                                  bonuses, tips
                                                    bonuses, tips

                                                    n Operating a business                                          □ Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include Income regardless of whether that Income Is taxable. Examples of other income are alimony; child support; Social Security,
      unemployment, and other public benefit payments; pensions; rental Income; interest; dividends; money collected from lawsuits; royalties; and
      gambling and lottery winnings. If you are filing a joint case and you have Income that you received together, list It only once under Debtor 1.

      List each source and the gross Income from each source separately. Do not Include Income that you listed In line 4.

      ■     No
      □     Yes. Fill In the details.

                                                   Debtor 1                                                         Debtor 2
                                                   Sources of income                 Gross income from              Sources of income           Gross income
                                                   Describe below.                   each source                    Describe below.             (before deductions
                                                                                     (before deductions and                                     and exclusions)
                                                                                     exclusions)

             I List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1's or Debtor 2's debts primarily consumer debts?
      □     No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined In 11 U.S.C. § 101(8) as "Incurred by an
                    Individual primarily for a personal, family, or household purpose."

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                          No.      Go to line 7.
                     n Yes         List below each creditor to whom you paid a total of $6,425* or more In one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not Include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

      H     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     I No.         Go to line 7.
                     n Yes         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   Include payments for domestic support obligations, such as child support and alimony. Also, do not Include payments to
                                   an attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment             Total amount          Amount you       Was this payment for.
                                                                                                         paid            still owe




Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2

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7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent,
      including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child
      support and alimony.

      ■     No
      □     Yes. List all payments to an insider.
       Insider's Name and Address                              Dates of payment             Total amount           Amount you       Reason for this payment
                                                                                                       paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

      ■     No
      □     Yes. List all payments to an insider
       Insider's Name and Address                              Dates of payment             Total amount           Amount you       Reason for this payment
                                                                                                    paid             still owe      Include creditor's name

            I Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

      n     No
      M     Yes. Fill in the details.
       Case title                                              Nature of the case           Court or agency                         Status of the case
       Case number

       Antonio Luna v. Rosendo Segundo                         Complaint for                Inglewood Courthouse                    H Pending
       Elvay                                                   Money for breach             One Regent Street                       □ On appeal
                                                               of rent                      Inglewood, OA 90301
                                                                                                                                    □ Concluded



10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or ievied?
    Check all that apply and fill in the details below.

      ■     No. Go to line 11.
      □     Yes. Fill in the information below.
       Creditor Name and Address                               Describe the Property                                         Date                        Value of the
                                                                                                                                                            property
                                                               Expiain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
      accounts or refuse to make a payment because you owed a debt?
      ■     No
      □     Yes. Fill In the details.
       Creditor Name and Address                               Describe the action the creditor took                         Date action was                 Amount
                                                                                                                             taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

      ■     No
      □     Yes




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       pages

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             List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
      ■     No
      □     Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                   Describe the gifts                                       Dates you gave                 Value
       per person                                                                                                            the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
      ■     No
      □     Yes. Fill In the details for each gift or contribution.
       Gifts or contributions to charities that total               Describe what you contributed                            Dates you                      Value
       more than $600                                                                                                        contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

            I List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
    disaster, or gambling?

      ■     No
      □     Yes. Fill in the details.
       Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your      Value of property
       how the loss occurred                                                                                                 loss                              lost
                                                          Include the amount that insurance has paid. List
                                                          pending insurance claims on line 33 of Schedule A/B:
                                                          Property.

            I List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

      □     No
      B     Yes. Fill in the details.
       Person Who Was Paid                                         Description and value of any property                     Date payment             Amount of
       Address                                                     transferred                                               or transfer was             payment
       Email or website address                                                                                              made
       Person Who Made the Payment, if Not You
       The Attorney Group                                          Attorney Fees $795                                        1/8/2019                   $795.0 0
       3435 Wilshire Blvd
       Suite 1111
       Los Angeles, OA 90010
       dking@theattorneygroup.com


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

      ■     No
      □     Yes. Fill in the details.
       Person Who Was Paid                                         Description and value of any property                     Date payment             Amount of
       Address                                                     transferred                                               or transfer was            payment
                                                                                                                             made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not

Official Form 107                                     Statement of Financial Affairs for individuals Filing for Bankruptcy                                   page 4

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     include gifts and transfers that you have already listed on this statement.
      ■     No
      □     Yes. Fill in the details.
       Person Who Received Transfer                                 Description and value of                   Describe any property or     Date transfer was
       Address                                                      property transferred                       payments received or debts   made
                                                                                                               paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
      ■     No
      □     Yes. Fill In the details.
       Name of trust                                               Description and value of the property transferred                        Date Transfer was
                                                                                                                                            made

            I List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
      sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
      houses, pension funds, cooperatives, associations, and other financial institutions.
      ■     No
      □     Yes. Fill in the details.
      Name of Financial Institution and                       Last 4 digits of              Type of account or          Date account was         Last balance
      Address (Number, Street, City, State and ZIP            acCOUnt number                instrument                 closed, sold,         before closing or
       Code)                                                                                                           moved, or                         transfer
                                                                                                                       transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
      cash, or other valuables?

      ■     No
      □     Yes. Fill in the details.
       Name of Financial Institution                               Who else had access to it?              Describe the contents              Do you still
      Address (Number, Street, City, State and ZiP Code)           Address (Number, Street, City,                                             have it?
                                                                   State and ZiP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

      ■     No
      □     Yes. Fill in the details.
       Name of Storage Facility                                    Who else has or had access              Describe the contents              Do you still
       Address (Number, Street, City, State and ZiP Code)          to it?                                                                     have it?
                                                                   Address (Number, Street, City,
                                                                   State and ZiP Code)

            I Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
      for someone.


      ■     No
      □     Yes. Fill in the details.
       Owner's Name                                                Where is the property?                  Describe the property                           Value
      Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                   Code)




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 5

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 Debtor 1     Rosendo Segundo Elvay
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                                                                                     Case number (if known)



             Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

H Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material Into the air, land, soil, surface water, groundwater, or other medium. Including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
H Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize It or used
     to own, operate, or utilize It, Including disposal sites.
H Hazardous materiai means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or In violation of an environmental law?

      ■     No
      □     Yes. Fill In the details.
       Name of site                                                Governmental unit                             Environmental law. If you        Date of notice
       Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and      knOW It
                                                                   ZIP Code)


25. Have you notified any governmental unit of any release of hazardous material?

      ■     No
      □     Yes. Fill In the details.
       Name of site                                                Governmental unit                             Environmental law. If you        Date of notice
       Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and      know It
                                                                   ZIP Code)


26. Have you been a party In any judicial or administrative proceeding under any environmental law? Include settlements and orders.

      ■     No
      □     Yes. Fill In the details.
       Case Title                                                  Court or agency                            Nature of the case                  Status of the
       Case Number                                                 Name                                                                           case
                                                                   Address (Number, Street, City,
                                                                   state and ZIP Code)

            I Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            □ A sole proprietor or self-employed In a trade, profession, or other activity, either full-time or part-time
            □ A member of a limited liability company (LLC) or limited liability partnership (LLP)
            □ A partner In a partnership
            □ An officer, director, or managing executive of a corporation
            □ An owner of at least 5% of the voting or equity securities of a corporation
      H No. None of the above applies. Go to Part 12.
      □ Yes. Check all that apply above and fill In the details below for each business.
      Business Name                                            Describe the nature of the business                Employer Identification number
      Address                                                                                                     Do not Include Social Security number or ITIN.
      (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                  Dates business existed




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      pages

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28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include all financial
      institutions, creditors, or other parties.

      ■      No
      □      Yes. Fill In the details below.
        Name                                                   Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

             I Sign Below
1 have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand thatmaking a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result jp^j^e^upnfo $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152,1341,1519, ar

Isl Rosendo Segund
 Rosendo Segund                                                         Signature of Debtor 2
 Signature of Debtor^

 Date      March 29, 2019                                               Date


Did you attach additional pages to Your Statement of Financial Affairs for individuals Filing for Bankruptcy (Official Form 107)7
■ No
□ Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
■ No
□ Yes. Name of Person                    . Attach the Bankruptcy Petition Preparer's Notice, Deciaration, and Signature (Official Form 119).




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page?

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 Fill in this information to identify your case:

 Debtor 1                 Rosendo Segundo Elvay
                          First Name                        Middle Name               Last Name

Debtor 2
(Spouse if, filing)                                         Middle Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                      □ Check If this is an
                                                                                                                                     amended filing



Official Form 108
Statement of Intention for individuals Filina Under Chaoter 7                                                                                         12/15

if you are an individual filing under chapter 7, you must fill out this form if:
H creditors have claims secured by your property, or
H you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
              on the form


If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

              List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral             What do you intend to do with the property that       Did you claim the property
                                                                          secures a debt?                                       as exempt on Schedule C?



    Creditor's        Nissan Motor                                        □ Surrender the property.
    name:                                                                 □ Retain the property and redeem it.
                                                                          H Retain the property and enter into a                □ Yes
    Description of      2014 Nissan Aitima 120K miles
                                                                             Reaffirmation Agreement.
    property            FMV per KBB                                       □ Retain the property and [explain]:
    securing debt: debtor will surrender

              List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                           Will the lease be assumed?


 Lessor's name:
 Description of ieased
 Property:                                                                                                                  □ Yes

 Lessor's name:
 Description of leased
 Property:                                                                                                                  □ Yes

 Lessor's name:


Official Form 108                                       Statement of intention for Individuals Filing Under Chapter 7

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 Description of leased
 Property:                                                                                                                    □ Yes

 Lessor's name:                                                                                                               □ No
 Description of leased
 Property:                                                                                                                    □ Yes

 Lessor's name:                                                                                                               □ No
 Description of leased
 Property:                                                                                                                    □ Yes

 Lessor's name:                                                                                                               □ No
 Description of leased
 Property:                                                                                                                    □ Yes

 Lessor's name:                                                                                                               □ No
 Description of leased
 Property:                                                                                                                    □ Yes

              Sign Below


Under penalty of perjury, I declare that I hav^^ifK{i(^ated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpiredJ

 X     Isl Rosendo Segundo F'""*                                     ^
       Rosendo Segundo Elv^                                   (I                       Signature of Debtor 2
       Signature of Debtor 1


       Date         March 29,2019                                                   Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                             page 2

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Notice Required by 11 U.S.C.§ 342(b)for
Individuals Filing for Bankruptcy(Form 2010)


                                                                                       Chapter 7:        Liquidation
 This notice Is for you If:
                                                                                               $245 filing fee
        You are an Individual filing for bankruptcy,
        and                                                                                     $75   administrative fee

        Your debts are primarily consumer debts.                                       +        $15 trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8)as "incurred by an individuai                                                  $335   totai fee
        primarily for a personal, family, or
        household purpose."                                                            Chapter 7 is for individuals who have financial
                                                                                       difficulty preventing them from paying their debts
                                                                                       and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                         property to be used to pay their creditors. The
 Individuals
                                                                                       primary purpose of filing under chapter 7 is to have
                                                                                       your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                    many of your pre-bankruptcy debts. Exceptions exist
                                                                                       for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                        be enforced after discharge. For example, a creditor
                                                                                       may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                    repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                          However, if the court finds that you have committed
                   for family farmers or                                               certain kinds of improper conduct described in the
                          fishermen                                                    Bankruptcy Code, the court may deny your
                                                                                       discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                        You should know that even if you file chapter 7 and
                          income                                                       you receive a discharge, some debts are not
                                                                                       discharged under the law. Therefore, you may still
                                                                                       be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                          most taxes;
chapter.
                                                                                           most student loans;

                                                                                           domestic support and property settlement
                                                                                           obligations;




Notice Required by 11 U.S.C.§ 342(b)for individuals Filing for Bankruptcy(Form 2010)                                                       pagel

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        most fines, penalties, forfeitures, and criminal                               your income is more than the median income for your
        restitution obligations; and                                                   state of residence and family size, depending on the
                                                                                       results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                           administrator, or creditors can file a motion to dismiss
         papers.                                                                       your case under § 707(b)of the Bankruptcy Code. If a
                                                                                       motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                   be dismissed. To avoid dismissal, you may choose to
                                                                                       proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                Code.


        fraud or defalcation while acting in breach of                                 If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                            the trustee may sell your property to pay your debts,
                                                                                       subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                   of the proceeds from the sale of the property. The
                                                                                       property, and the proceeds from property that your
        death or personal injury caused by operating a                                 bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                           entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                         enable you to keep your home, a car, clothing, and
                                                                                       household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                  the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                     Exemptions are not automatic. To exempt property, you
You must file Chapter 7 Statement of Your Current                                      must list it on Schedule C: The Property You Claim as
Monthly Income (Official Form 122A-1)If you are an                                     Exempt(Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                 property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                    proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7form,                                Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A-2).
                                                                                                   $1,167 filing fee
 If your income is above the median for your state, you
 must file a second form —^the Chapter 7 Means Test                                       +           $550 administrative fee
 Calculation (Official Form 122A-2). The calculations on
                                                                                                   $1,717     total fee
 the form— sometimes called the Means Test—deduct
from your income living expenses and payments on                                       Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay
                                                                                       but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                       chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C.§ 342(b)for Individuals Filing for Bankruptcy(Form 2010)                                                            page 2
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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file. Only
             an attorney can give you legal advice about what can happen as a result of filing for bankruptcy and
             what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms properly
             and protect you, your family, your home, and your possessions.

            Although the law allows you to represent yourself in bankruptcy court, you should understand that many
            people find it difficult to represent themselves successfully. The rules are technical, and a mistake or
            inaction may harm you. If you file without an attorney, you are still responsible for knowing and
            following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

            Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
            bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
            fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
            20 years, or both. 18 U.S.C. §§ 152,1341,1519, and 3571.



                                                                                       Under chapter 13, you must file with the court a plan to
 Chapter 12: Repayment plan for family                                                 repay your creditors all or part of the money that you
                    farmers or fishermen                                               owe them, usually using your future earnings. If the
                                                                                       court approves your plan, the court will allow you to
                                                                                       repay your debts, as adjusted by the plan, within 3
                  $200 filing fee                                                      years or 5 years, depending on your income and other
+                  $75 administrative fee                                              factors.
                  $275        total fee
                                                                                       After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                               many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                               not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                 pay include:
are not paid.
                                                                                              domestic support obligations.

                                                                                              most student loans.
 Chapter 13: Repayment plan for
             individuals with regular                                                         certain taxes.

                                                                                              debts for fraud or theft.

                  $235 filing fee                                                             debts for fraud or defalcation while acting in a
+                  $75 administrative fee                                                     fiduciary capacity,
                  $310        total fee
                                                                                              most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular Income
and would like to pay all or part of their debts in                                           certain debts that are not listed in your
installments over a period of time and to discharge some                                      bankruptcy papers,
debts that are not paid. You are eligible for chapter 13
only if your debts are not more than certain dollar                                           certain debts for acts that caused death or
amounts set forth in 11 U.S.C. § 109.                                                         personal injury, and

                                                                                              certain long-term secured debts.




Notice Required by 11 U.S.C.§ 342(b)for Individuals Filing for Bankruptcy(Form 2010)

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                                                                                      A married couple may file a bankruptcy case
              Warning: File Your Forms on Time                                        together—called a joint case. If you file a joint case and
                                                                                      each spouse lists the same mailing address on the
Section 521(a)(1) of the Bankruptcy Code requires that                                bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                    mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                  unless you file a statement with the court asking that
general financial condition. The court may dismiss your                               each spouse receive separate copies.
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the                                         Understand which services you couid receive from
Bankruptcy Rules, and the local rules of the court.                                   credit counseling agencies

 For more information about the documents and                                         The law generally requires that you receive a credit
their deadlines, go to:                                                               counseling briefing from an approved credit counseling
http://www.uscourts.gov/bkforms/bankruptcv form                                       agency. 11 U.S.C.§ 109(h). If you are filing a joint case,
s.html#procedure.                                                                     both spouses must receive the briefing. With limited
                                                                                      exceptions, you must receive it within the 180 days
                                                                                      before you file your bankruptcy petition. This briefing is
 Bankruptcy crimes have serious consequences                                          usually conducted by telephone or on the Internet.

        If you knowingly and fraudulently conceal assets                              In addition, after filing a bankruptcy case, you generally
        or make a false oath or statement under penalty of                            must complete a financial management instructional
        perjury—either orally or in writing—in connection                             course before you can receive a discharge. If you are
        with a bankruptcy case, you may be fined,                                     filing a joint case, both spouses must complete the
        imprisoned, or both.                                                          course.



        All information you supply in connection with a                               You can obtain the list of agencies approved to provide
        bankruptcy case is subject to examination by the                              both the briefing and the instructional course from:
        Attorney General acting through the Office of the                             http://iustice.gov/ust/eo/hapcpa/ccde/cc approved.html.
        U.S. Trustee, the Office of the U.S. Attorney, and
        other offices and employees of the U.S.                                       In Alabama and North Carolina, go to:
        Department of Justice.                                                        http://www.uscourts.gov/FederalCourts/Bankruptcv/
                                                                                      BankruptcvResources/ApprovedCredit
 Make sure the court has your mailing address                                         AndDebtCounselors.aspx.

The bankruptcy court sends notices to the mailing                                     If you do not have access to a computer, the clerk of
address you list on Voluntary Petition for individuals                                the bankruptcy court may be able to help you obtain the
Filing for Bankruptcy(Official Form 101). To ensure                                   list.
that you receive information about your case.
Bankruptcy Rule 4002 requires that you notify the court
of any changes in your address.




Notice Required by 11 U.S.C.§342(b)for Individuals Filing for Bankruptcy(Form 2010)                                                           page 4

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                                                              United States Bankruptcy Court
                                                                     Central District of California
  In re       Rosendo Segundo Elvay                                                                            Case No.
                                                                                  Debtor(s)                    Chapter       7


                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a)and Fed. Bankr. P. 2016(b), 1 certify that 1 am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me,for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, 1 have agreed to accept                                                  $                     795.00
              Prior to the filing of this statement 1 have received                                        $                     795.00
              Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

              H Debtor              □     Other (specify):

3.     The source of compensation to be paid to me is:

              H Debtor              □     Other (specify):

4.        H 1 have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          □ 1 have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.        In return for the above-disclosed fee, 1 have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                   any dischargeability actions, judicial lien avoidances, relief from stay actions or any other adversary proceeding.
                                                                           CERTIFICATION

       1 certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

      March 29, 2019                                                              /s/ Daniel King
     Date                                                                         Daniel King
                                                                                  Signature ofAttorney
                                                                                  The Attorney Group
                                                                                  3435 Wiishire Bivd
                                                                                  Suite 1111
                                                                                  Los Angeles, CA 90010
                                                                                  213-388-3887      Fax: 213-388-1744
                                                                                  dking@theattorneygroup.com
                                                                                  Name of law firm




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 Fill In this Information to Identify your case:                                                      Check one box only as directed In this form and in Form
 Debtor 1             Rosendo Segundo Elvay
 Debtor 2                                                                                                g ^ There is no presumption of abuse
(Spouse, if filing)

 United States Bankruptcy Court for the: Central District of California                                 °2. The  calculation to determine If a presumption of abuse
                                                                                                             applies will be made under Chapter 7 Means Test
 Case number                                                                                                    Calculation (Official Form 122A-2).
(If known)                                                                                               Q 3 -p|^g Means Test does not apply now because of
                                                                                                                qualified military service but It could apply later.

                                                                                                          □ Check if this is an amended filing
Official Form 122A -1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space Is needed, attach a
separate sheet to this form. Include the line number to which the additional Information applies. On the top of any additional pages, write your name and case
number (If known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption ofAbuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

                 Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
       □ Not married. FIN out Column A, lines 2-11.
       □ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
        I Married and your spouse is NOT filing with you. You and your spouse are:
             □ Living in the same househoid and are not iegaiiy separated. Fill out both Columns A and B, lines 2-11.
             M Living separateiy or are legaliy separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse
                are

                living apart for reasons that do not Include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill In the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(1 OA). For example, If you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly Income varied during the
    6 months, add the income for all 6 months and divide the total by 6. Fill In the result. Do not Include any Income amount more than once. For example. If both spouses own
    the same rental property, put the Income from that property In one column only. If you have nothing to report for any line, write $0 In the space.
                                                                                                          Column A                   Column B
                                                                                                          Debtor 1                   Debtor 2 or
                                                                                                                                     non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before
     all payroll deductions).                                                                                        3,000.83
  3. Alimony and maintenance payments. Do not Include payments from a spouse If
       Column B Is filled In.
  4. AM amounts from any source which are regularly paid for househoid expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only If Column B Is not
     filled In. Do not Include payments you listed on line 3.
  5. Net income from operating a business, profession, or farm
                                                                                    Debtor 1

       Gross receipts (before all deductions)                                    0.00

       Ordinary and necessary operating expenses                                 0.00

       Net monthly Income from a business, profession, or farm :                 0.00    Copy here -> $
  6.   Net income from rental and other real property
                                                                                    Debtor 1

       Gross receipts (before all deductions)                                    0.00
       Ordinary and necessary operating expenses                                 0.00

       Net monthly Income from rental or other real property                     0.00    Copy here -> $

  7.   Interest, dividends, and royalties                                                                 $




Official Form 122A-1                                    Chapter 7 Statement of Your Current Monthly Income                                                           page 1
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 Debtor 1     Rosendo Segundo Elvay                                                                   Case number {if known)




                                                                                                     Column A                  Column B
                                                                                                     Debtor 1                  Debtor 2 or
                                                                                                                               non-filing spouse
  8. Unemployment compensation                                                                                      0.00       $
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here:
            For you                                                $                      Q.QQ
            For your spouse                                        $
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                                         0.00       $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
       total below.
                                                                                                                    0.00       $.
                                                                                                                    0.00
                 Total amounts from separate pages, if any.                                      + $                0.00       $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
       each column. Then add the total for Column A to the total for Column B.               $     3,000.83                                  $      3,000.83

                                                                                                                                             Total current monthly
                                                                                                                                             Income

                Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                            Copy line 11 here=>               $        3,000.83

              Multiply by 12(the number of months in a year)                                                                                     X 12

       12b. The result is your annual income for this part of the form                                                               12b.    $     36,009.96

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                   OA


       Fill in the number of people in your household.                         1

      Fill in the median family income for your state and size of household.                                                         13.           56,580.00
      To find a list of applicable median income amounts, go online using the link specified in the separate instructions
      for this form. This list may also be available at the bankruptcy clerk's office.
  14. How do the lines compare?

       14a.     B Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.     □     Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.

                Sign Below
              By signing here, I declare under pen;                    hat the information on this statement and in any attachments is true and correct.

             X Isl Rosendo Segundo
                Rosendo Segundo Ej
                Signature of Debtor 1
        Date March 29. 2019
                MM/DD /YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                    Chapter 7 Statement of Your Current Monthly Income                                                  page 2
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                                                     Main Document FORPage  51 of 53
Attorney or Party Name, Address, Telephone & FAX Nos.,                 COURT USE ONLY

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 □ Debtor(s) appearing without an attorney
 ■ Attorney for Debtor

                                                    UNITED STATES BANKRUPTCY COURT
                                                     CENTRAL DISTRICT OF CALIFORNIA


 in re:
                                                                                   CASE NO.:
             Rosendo Segundo Eivay
                                                                                   CHAPTER: 7




                                                                                                       VERIFICATION OF MASTER
                                                                                                      MAILING LIST OF CREDITORS

                                                                                                                     [LBR 1007-1(3)]

                                                               Debtor(s).

Pursuant to LBR 1007-1 (a), the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of _2_ sheet(s) is complete^orrect, and consistent

                                                                                                                                      I./®. i4|L
Date;     March 29,2019                                                                   Isi Rosendo Segundo.Elvay^                                   \

                                                                                          Signature of Debtor^X,..-'*^,

Date:
                                                                                          Signature of Debtor 2 (joint debtor)) (if applicable)

Date:     March 29, 2019                                                                  Isl Daniel King
                                                                                          Signature of Attorney for Debtor (if applicable)




                   This form Is optional. It has been approved for use In the United States Bankruptcy Court for the Central District of California.
December 2015                                                                                        F 1007-1 .MAILING.LIST. VERIFICATION
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